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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

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UNITED STATES OF AMERICA,
15 Cr. 445 (PAE)
_V_
O_N_NWL_QIM
CORY HEYWARD and MIGUEL ROMERO,
Defendants. .
X

PAUL A. ENGELMAYER, District Judge:

This decision resolves post-trial motions by a defendant convicted of offenses arising out
of his participation in a Bronx gang known as “l 8 Park.”

On November 21, 2016, defendants Raheem Amarizan, Cory HeyWard, and Miguel
Romero Were each convicted, after a three-Week jury trial, of conspiracy to commit racketeering
in violation of 18 U.S.C. § l962(d), narcotics conspiracy in violation of 21 U.S.C. §§ 846 &
84l(b)(l)(A)_(D), and the use of firearms in connection With the racketeering conspiracy in
violation of 18 U.S.C. § 924(0)(1)(A)(iii). On May l, 2017, HeyWard moved for a judgment of
acquittal under Federal Rule of Criminal Procedure 29, or, in the alternative, for a new trial
under Federal Rule of Criminal Procedure 33. These motions Were based on two pieces of
information the Government learned of and disclosed to the defense after trial-one relating to
the credibility of a trial Witness, Dontay Mabry, and another relating to a hearsay statement
attributed to a co-defendant, Jonathan Rodriguez, Who had then been scheduled for a later trial.
Dkt. 747 (“D. Mem.”). The Government opposed HeyWard’s motion. Dkt. 780 (“G. Mem.”).

The Court has deferred sentencing pending resolution of HeyWard’s motions

 

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 2 of 15

For the reasons that follow, the Court denies Heyward’s motions.1
I. Background

A. The Indictment and Trial

On December 7, 2015, a grand jury returned a superseding indictment against Heyward
and 25 others, alleging participation in a Bronx gang called “1 8 Park” which was alleged to have
participated in violent acts and narcotics dealing in and around a South Bronx housing project,
the Patterson Houses. See 82 15 Cr. 445 (PAE) (Dkt. 12).

On October 31, 2016, HeyWard, Amarizan, and Romero went to trial on superseding
indictment S6 15 Cr. 445 (PAE) (Dkt. 348), which charged each with the three counts described
above.2 The Government’s trial witnesses included five cooperating witnesses who, pursuant to
plea agreements, each testified to their participation in 18 Park and the participation of one or
more of the three defendants; law enforcement witnesses; and lay witnesses. Of the five
cooperating witnesses, four (Diquinn Lacend, Kenneth Jenkins, Keith Ruiz, and Dontay Mabry)
specifically implicated Heyward in activities of the gang. The Government’s physical evidence
included firearms, knives, narcotics, tape-recordings of narcotics transactions, and social media

communications (including videos) among members of the gang. As to the defense case, two

 

1 Counsel for Romero informally advised the Court’s staff that Romero intended to join
Heyward’s motion, but he did not do so. Nevertheless, the Court independently considered
whether the arguments made on Heyward’s behalf, when applied to Romero, would justify entry
of judgment of acquittal or a new trial as to Romero. They would not. As to defendant
Amarizan, following trial, Amarizan entered into a cooperation agreement with the Government,
pursuant to which he affirmed, in court, his guilt on the charges on which he had been convicted.

2 At the time of the Heyward/Amarizan/Romero trial, two other trials of 18 Park defendants were
scheduled. Ultimately, only one other 18 Park defendant, William Knox, went to trial; all others
pled guilty. On March 8, 2017, a jury returned a verdict of guilty against Knox on racketeering
conspiracy and firearms charges, and a verdict of not guilty on narcotics conspiracy charges See
Dkt. 677.

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 3 of 15

defendants, Heyward and Romero, testified in their defense, and, as relevant here, Heyward
called one character witness, a longtime friend named Andre Reed.

On November 21, 2016, the jury found all three defendants guilty of all charges The
jury’s verdict also made factual findings relevant to sentencing On the racketeering conspiracy
count, the jury found, for each defendant, that an object of the conspiracy involved murder, and
that another object involved narcotics distribution The jury found that it was reasonably
foreseeable for Heyward and Amarizan, but not Romero, that the gang’s narcotics distribution
would involve at least 280 grams of crack cocaine and at least one kilogram of heroin. On the
narcotics conspiracy count, the jury made identical findings On the firearms count, the jury
found that Heyward and Amarizan, but not Romero, were responsible for discharging, or aiding
and abetting the discharge of, a firearm possessed or used during or in furtherance of the
racketeering conspiracy. Dkt. 465 (jury verdict).

B. Heyward’s Post-Trial Motion

In letters to the defense dated February 17, 2017, the Government disclosed statements
that two witnesses had made in post-trial interviews (These interviews had apparently been
conducted in preparation for the next scheduled trial in the 18 Park case.) These statements form
the basis for Heyward’s post-trial motions

T he Mabry Statement: First, in February 2017, during an interview with the Government,
cooperating witness Mabry informed the Government for the first time that, several years earlier,
he had fired a gun in the direction of the Betances Houses in the Bronx, New York. D. Mem at
3; G. Mem. at 24. At the fall 2016 trial, during cross-examination, Heyward’s counsel had asked
Mabry whether he had been involved in a shooting at the Betances Houses, and Mabry had

testified that he had not. Tr. 1637-38.

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 4 of 15

The Rodrz'guez Statement: Second, in February 2017, Raheem Amarizan, who after his
conviction at trial began cooperating with the Government, disclosed to the Government that an
18 Park member, co-defendant Jonathan Rodriguez, a/k/a “Bebo,” had stated in jail while in
Amarizan’s presence that an aspect of the trial testimony of cooperating witness Keith Ruiz was
incorrect. At Heyward’s trial, Ruiz testified to the murder of Brandon Howard committed by
Rodriguez in an apartment building. Ruiz testified that the gang members present for the murder
were Rodriguez, Ruiz, Marquis Wright, and Heyward. After trial, however, Amarizan stated
that, while in jail, Rodriguez had told Amarizan that only Rodriguez, Wright and Ruiz (i.e., not
Heyward) had been present at the time of the Brandon Howard murder. G. Mem. at 25; D. Mem.
at 6.

On May l, 2017, Heyward moved for a judgment of acquittal under Rule 29 and for a
new trial under Rule 33, relying on the newly disclosed Mabry and Rodriguez Statements. Dkts.
746-48. The Government filed an opposition memorandum in response. Dkt. 780.

Pending resolution of these motions, the defendants have not been sentenced.

II. Discussion
A. The Rule 29(c) Motion
1. Applicable Legal Principles

Under Rule 29(c), after a jury has returned a guilty verdict, a court may set aside the
verdict and enter a judgment of acquittal. To do so, however, the district court-as under Rule
29(a), which governs such motions made during trial_must find the evidence on the count in
question “insufficient to sustain a conviction.” Fed. R. Crim. P. 29. A defendant challenging the
sufficiency of the evidence underlying a conviction bears a “very heavy burden,” Um`ted States v.

Brewer, 36 F.3d 266, 268 (2d Cir. 1994) (quotation omitted), and “the standard of review is

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 5 of 15

exceedingly deferential,” Unitea’ States v. Sheehan, 838 F.3d 109, 119 (2d Cir. 2016) (quotation
omitted). In evaluating a challenge to the sufficiency of the evidence, the Court must view the
evidence “in the light most favorable to the government, crediting every inference that could
have been drawn in the government’s favor, and deferring to the jury’s assessment of witness
credibility and its assessment of the weight of the evidence.” Sheehan, 838 F.3d at 119
(quotation omitted). Overall, “the relevant question is whether, after viewing the evidence in the
light most favorable to the prosecution, any rational trier of fact could have found the essential
elements of the crime beyond a reasonable doubt.” Jackson v. Virgim`a, 443 U.S. 307, 319
(1979).
2. Discussion

Heyward’s motion for a judgment of acquittal under Rule 29(c) is easily denied. At trial,
Heyward similarly moved for a judgment of acquittal under Rule 29(a). The Court denied that
motion, recognizing the abundant evidence supporting Heyward’s guilt on all three counts This
evidence included testimony of four cooperating witnesses, who together recounted his
involvement in selling drugs, supplying guns to other members of the gang, and participating in
gang-related shootings The evidence also included testimony from police officers who
described chasing Heyward immediately after a shooting at the Patterson Houses on September
15, 2012, and shell casings recovered by the police from that shooting matched the gun that
Heyward acknowledged (through a stipulation entered into evidence) that he possessed that day.
Further, there was ballistics evidence that a gun that Heyward had supplied to Diquinn Lacend (a
“Kel-Tec”) had been fired on July 8, 2011, during a shootout with a rival gang member in which
Raheem Amarizan was shot and wounded. Nothing in the Mabry Statement or the Rodriguez

Statement calls into question the sufficiency of the evidence against Heyward.

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 6 of 15

Heyward’s ensuing trial testimony, which broadly rejected the testimony of all four
cooperating witnesses who had implicated him in the gang’s activities, supplied additional
grounds to support a guilty verdict, Among other denials, Heyward denied ever having heard the
phrase “1 8 Park” to refer to a gang; instead, he testified that the phrase referred only to a
playground. This testimony conflicted not only with that of the cooperating witnesses, but also
with that of Andre Reed, the non-gang-affiliated friend from the same neighborhood whom
Heyward himself called to testify. Heyward also supplied internally contradictory testimony
about the facts underlying his gun possession on September 15, 2012. Heyward had pled guilty
to gun possession in state court and stipulated to this possession at trial. But during his trial
testimony, Heyward initially appeared to deny this possession, stating that he had pled guilty
because he was the only person stopped that night and was found in the vicinity of the gun.
Later, he changed course, and testified that, “It’s my testimony that l did possess a gun.”

Tr. 1904; see also Tr. at 1899_1911. The jury was entitled to find various aspects of Heyward’s
testimony false and obfuscatory, and to infer from these evasions consciousness of guilt and
thereby guilt. Neither the Mabry Statement nor the Rodriguez Statement does anything to
rehabilitate this testimony,

Notably, despite raising a Rule 29(c) motion, Heyward nowhere attempts to explain why
the trial evidence-whether viewed on its own or in light of the Government’s post-trial
disclosures_provided an insufficient basis on which to infer guilt. The Court’s assessment
remains that the evidence of Heyward’s guilt was not only sufficient but abundant. The Court
therefore denies Heyward’s motion made under Rule 29(c).

B. The Rule 33 Motion

1. Applicable Legal Principles

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 7 of 15

In relevant part, Rule 33 provides that upon a defendant’s motion, a district court may
vacate a judgment of conviction and grant a new trial “if the interest of justice so requires.” Fed.
R. Crim. P. 33. However, “motions for new trials are disfavored in this Circuit,” Um'tea' States v.
Gambino, 59 F.3d 353, 364 (2d Cir. 1995), and are granted “sparingly and in only the most
extraordinary circumstances,” Unitea' States v. Ferguson, 246 F.3d 129, 134 (2d Cir. 2001)
(quotation omitted). ln order for a court to grant such a motion, the court must find, in light of
the overall facts and circumstances of the case, that there is “a real concern that an innocent
person may have been convicted.” Um`tea’ States v. Aguiar, 737 F.3d 251, 264 (2d Cir. 2013)
(quotation omitted). “The ultimate test on a Rule 33 motion is whether letting a guilty verdict
stand would be a manifest injustice.” Ferguson, 246 F.3d at 1341; see also Um'tea1 States v.
Yannaz', 791 F.3d 226, 242 (2d Cir. 2015) (“A defendant’s motion for a mistrial may be granted
where something has occurred to interfere with the defendant’s right to a fair trial.”). A new trial
should not be granted when the court is “satisfied that competent, satisfactory and sufficient
evidence in the record supports the jury verdict.” Ferguson, 246 F.3d at 134.

Where, as here, a Rule 33 motion is based on a claim of a newly discovered evidence, a
new trial may be granted “only upon a showing that the evidence could not with due diligence
have been discovered before or during trial, that the evidence is material, not cumulative, and
that admission of the evidence would probably lead to an acquittal.” Um'tea’ States v. Owen, 500
F.3d 83, 87 (2d Cir. 2007) (quotation omitted). Because “one does not ‘discover’ evidence after
trial that one was aware of prior to trial,” evidence “that was known by the defendant prior to
trial, but became newly available after trial” does not qualify as new evidence that may provide
the basis for granting a Rule 33 motion, Ia’. at 89-90. “[W]here . . . a defendant knew or should

have known[] that his codefendant could offer material testimony as to the defendant’s role in

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 8 of 15

the charged crime, the defendant cannot claim that he ‘discovered’ that evidence only after trial.”
Ia'. at 91; see also Um'ted States v. Forbes, 790 F.3d 403, 408 (2d Cir. 2015) (“[W]e hold that
evidence is excluded from the meaning of ‘newly discovered’ under Rule 33 where (1) the
defendant was aware of the evidence before or during trial, and (2) there was a legal basis for the
unavailability of the evidence at trial, such as the assertion of a valid privilege.”).

Even if the proffered new evidence qualifies as being newly discovered, “[i]n the most
common Rule 33(b) situation, in which the new evidence concerns the conduct of the defendant
or the crime with which he is charged, the court is not to grant the new-trial motion unless the
evidence would likely result in an acquittal.” Unitea’ States v. Parse, 789 F.3d 83, 110 (2d Cir.
2015). That principle applies to circumstances where the new evidence is of a trial witness’s
perjury, as the Second Circuit has “frequently acknowledged that, even where newly discovered
evidence indicates perjury,” a Rule 33 motion “should be granted only with great caution and in
the most extraordinary circumstances.” Um'tea’ States v. Stewart, 433 F.3d 273, 296 (2d Cir.
2006) (quotation omitted). ln such cases, the “threshold inquiry is whether the evidence
demonstrates that the witness in fact committed perjury.” Ia’. at 297 (quotation omitted). Even if
a witness has committed perjury, “if the prosecution was not aware of the perjury [at the time of
trial], a defendant can obtain a new trial only where the false testimony leads to a ‘firm belief
that but for the perjured testimony, the defendant would most likely not have been convicted.”’
Icl. (quoting Um'tea' States v. Wallach, 935 F.2d 445, 456 (2d Cir. 1991)). “If instead the
prosecution knew or should have known about the perjury, then the conviction will be set aside if
there is any reasonable likelihood that the false testimony could have affected the judgment of

the jury.” Um`tea’ States v. Torres, 128 F.3d 38, 49 (2d Cir. 1997) (quotation omitted).

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 9 of 15

Finally, the standard for a new trial is especially hard to meet where the newly discovered
evidence constitutes additional impeachment material. “Relief under Rule 33 based on newly
discovered evidence may be granted only upon a showing that . . . the evidence is not merely
cumulative or impeaching; and . . . the evidence would likely result in an acquittal.” Forbes, 790
F.3d at 406-07 (quotation omitted); see also, e.g., Um`l‘ea’ States v. Reyes, 49 F.3d 63, 68 (2d Cir.
1995) (“New evidence that is merely impeaching will not ordinarily justify a new trial.”); Um'tecl
States v. Parkes, 497 F.3d 220, 233 (2d Cir. 2007) (“New impeachment evidence is not material,
and thus a new trial is not required when the suppressed impeachment evidence merely furnishes
an additional basis on which to impeach a witness whose credibility has already been shown to
be questionable.”) (quotation and alteration omitted).

2. Discussion

Measured against these standards, the Mabry Statement does not supply a basis to grant
Heyward a new trial under Rule 33. Significantly, the Mabry Statement does not speak to
Heyward’s guilt-on its face, it does not concern Heyward at all. lnstead, taken as true, it would
serve as additional impeachment material as to Mabry. The statement admits another criminal
act on Mabry’s part: that Mabry had once fired a shot at members of a rival gang in the vicinity
of the Betances Houses. And it thereby revealed that Mabry’s contrary trial testimony denying
involvement in a Shooting at the Betances Houses had been false.

Ordinarily, however, additional “new impeachment evidence is not material” so as to
require a new trial. Parkes, 497 F.3d at 233 (alteration omitted). That premise applies here.
Mabry’s trial testimony itself revealed ample prior criminal acts on his part, including other acts
committed in conjunction with the 18 Park gang, such that the revelation of the additional act of

violence would have been cumulative to the existing impeachment evidence in the record. See

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 10 of 15

ia'. (“[A] new trial is not required when the [new] impeachment evidence merely furnishes an
additional basis on which to impeach a witness whose credibility has already been shown to be
questionable.”); see also Forbes, 790 F.3d at 406-07 (“Relief under Rule 33 based on newly
discovered evidence may be granted only upon a showing that . . . the evidence is not merely
cumulative or impeaching . . . .”). Mabry admitted steering crack sales for the gang; selling
marijuana for the gang; stashing guns in 18 Park’s territory with fellow gang members; and
being present for and/or facilitating several shootings that fellow gang members committed,
including assisting 18 Park member Jonathan Harris in a shooting on “Spanish Block,” a street in
the heart of the gang’s territory.

To be sure, Mabry’s post-trial statement revealed his role as shooter on one occasion, a
species of criminal act not revealed by the other trial evidence. And the impeachment value of
Mabry’s post-trial statement was enhanced because it served not only to disclose an additional
criminal act but also to reveal as false an aspect of his trial testimony,

Nonetheless, considering the trial record as a whole, the Court_far from having a “firm
belief” that but for Mabry’s false testimony, Heyward would not have been convicted, Stewart,
433 F.3d at 296-97_has a firm belief that the jury’s verdict would have been exactly the same.
Even had the jury discounted Mabry’s testimony altogether, the other evidence of Heyward’s
involvement in the 18 Park gang, in the manners charged, was overwhelming All three other
cooperating witnesses testified to Heyward’s involvement in the gang’s narcotics dealing;
Lacend and Ruiz testified to Heyward’s involvement in the gang’s firearms activities; and the
evidence of Heyward’s use of a firearm to further the gang’s agenda was compelling: Heyward
in fact stipulated to his gun possession on September 15, 2012, and the evidence (all independent

of Mabry) tied the shooting that night to the gang Moreover, the jury was aware from other trial

10

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 11 of 15

evidence that Mabry’s testimony required close scrutiny, as the Court in its final instructions
directed the jury to give it. The examinations of Mabry at trial revealed a prior false statement
he had made to the police at the time of his arrest (Tr. 1614-19); a false statement he had made
to federal law enforcement agents in connection with his arrest (ial. at 1619-23); and a prior false
statement he had made under oath in Bronx Supreme Court (ia’. at 1623-28). Cross-examination
of Mabry similarly yielded internally contradictory or arguably contradictory testimony as to
whether he was a “member” of 18 Park (z'a'. at 1648-49). And defense counsel drew the jury’s
attention to these problematic aspects of Mabry’s testimony. Under these circumstances, there is
no reasonable likelihood that Mabry’s false testimony about whether he had shot a gun at the
Betances Houses would have affected the jury’s determination as to Heyward.

ln a final bid to overturn his conviction based on the Mabry Statement, Heyward posits
that, at the time Mabry testified about his lack of involvement in a shooting at the Betances
Houses, the Government knew that testimony was false. Even if that were so, a new trial would
then be warranted only if there is “any reasonable likelihood that the false testimony could have
affected the judgment of the jury.” Torres, 128 F.3d at 49. But Heyward has not offered any
factual support for that claim. Heyward has not, for example, pointed to any part of Mabry’s
voluminous 3500 material that admitted or indicated his participation in that shooting3 And that
Heyward’s counsel knew to examine Mabry about the shooting does not, without more, reveal
that the Government also knew of it at trial. Defense counsel could have learned of this incident

in various ways, including from Heyward or from counsel for other indicted defendants

 

3 In contrast, twice at trial, when cooperating witnesses contradicted prior statements reflected in
their 3500 material, counsel for Amarizan Sought and obtained stipulations as to the prior
inconsistent statements See Defense Exhibit RA-l.

11

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 12 of 15

Under the applicable governing standards, the Rodriguez Statement also does not support
vacating Heyward’S conviction. First, the statement itself does not qualify as “newly discovered
evidence.” Heyward was aware before trial_from Ruiz’s 3500 material-and at trial that Ruiz
would testify both that Heyward was among the 18 Park gang members present with Rodriguez
at Rodriguez’s apartment on September 28, 2008, immediately before the murder of Brandon
Howard, and that Heyward was among those who accompanied Rodriguez to the party at the
building where Rodriguez shot and killed Brandon Howard. Heyward therefore knew before and
at trial that Rodriguez was among those in a position to offer material testimony as to Heyward’s
role in the charged crime, and that Rodriguez was in possession to confirm_or refute_
Heyward’s defense that he was not present. As such, Heyward cannot claim, as to Rodriguez’s
harboring relevant evidence, “that he ‘discovered’ that evidence only after trial.” Owen, 500
F.3d at 87-91.

To be sure, Rodriguez, as a co-defendant then scheduled to go to trial, presumably would
have invoked his Fifth Amendment privilege against self-incrimination had Heyward called him
to testify. But the unavailability of evidence due to the assertion (or contemplated assertion) of a
legal privilege is not grounds for a Rule 33 motion. See Forbes, 790 F.3d at 408-09 (denying
new trial where evidence was unavailable because witness invoked Fifth Amendment privilege,
as “evidence is excluded from the meaning of ‘newly discovered’ under Rule 33 where (1) the
defendant was aware of the evidence before trial or during trial, and (2) there was a legal basis
for the unavailability of the evidence at trial, such as the assertion of a valid privilege”).
Although the avenues to secure such testimony are often problematic, there are means by which
a defendant facing this situation can at least seek to pursue evidence. Owen, 500 F.3d at 91-92

(noting potential remedies for circumstance where co-defendant’s expected invocation of

12

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 13 of 15

privilege prevented co-defendant from giving potentially exculpatory testimony, including
seeking to sever the trial or limited immunization of the witness co-defendant). Heyward,
however, did not pursue severance and deferral of his trial pending the outcome of Rodriguez’s
trial; nor, on the record before the Court, did he pursue Rodriguez’s immunization

In any event, even if the statement made by Rodriguez to Heyward’s co-defendant
Amarizan did constitute newly discovered evidence, it would not provide Heyward with a basis
for a new trial. The statement itself, if testified to by Amarizan, is inadmissible hearsay:
Heyward would be offering the proposition asserted by Rodriguez-that Heyward was not at the
scene of the Howard murder-for the truth of the matter asserted. See Fed. R. Evid. 801-02.
And Heyward has not identified any hearsay exception that would permit this statement by an
unavailable declarant (Rodriguez) to be received for its truth: While a statement by Rodriguez
that incriminated himself in the murder would likely qualify as a statement against his penal
interest, see Fed. R. Evid. 804(b)(3), a statement by Rodriguez listing the persons present would
not, see Williamson v. Unitea' States, 512 U.S. 594, 600~01 (1994) (statements collateral to self-
inculpatory statements are not admissible). Heyward’s bid for a new trial based on the
Rodriguez Statement thus falters for the failure to identify a means by which that statement could
be received in evidence at trial.

ln any event, even if the statement were received, none of the three counts with which
Heyward was charged (and convicted) required proof of his presence at, or participation in, a
murder generally or that murder specifically. For the reasons stated earlier, the independent
evidence of Heyward’s participation in the racketeering conspiracy, in the narcotics conspiracy,
and in the use of a firearm to further the former, was abundant. The Brandon Howard murder,

while the most violent of the gang’s acts as recounted at trial, was just one of numerous acts of

13

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 14 of 15

violence and narcotics dealing to which the evidence tied Heyward. Therefore, even assuming
the jury_on the strength of the Rodriguez statement as related by Amarizan-discredited Ruiz’s
testimony that Heyward had been present for the Howard murder, the Court possesses no
concern that the verdict would have been different, let alone “a real concern that an innocent
person may have been convicted,” Aguiar, 737 F.3d at 264, or any worry that letting the guilty
verdict stand would constitute a “manifest injustice,” Fergason, 246 F.3d at 134. The Court
therefore denies Heyward’s motion for a new trial based on the Rodriguez Statement.

A separate question is presented by the jury’s finding, made in connection with the
racketeering conspiracy count, that an object of the conspiracy was murder. Given the evidence
entered at trial, it is likely, although not certain, that the jury’s basis for that particular finding
was, as to HeyWard, the murder of Brandon Howard. But, for the reasons discussed above, the
Rodriguez Statement, even had it been made to Amarizan prior to trial and made known to
Heyward’s counsel, almost certainly would not have been admissible at trial. There is therefore
no basis to disturb the jury’s finding And it is far from certain that the jury would not still have
credited Ruiz on Heyward’s presence at the Brandon Howard murder had both Ruiz’s and
Rodriguez’s competing statements been presented to the jury.

The Court has nevertheless considered the potential effect on Heyward’s sentence of the
jury’s finding that the conspiracy as joined by Heyward had murder as an object. The effect of
that finding is not to impose a minimum sentence, but to increase the maximum sentence that
may be imposed on the racketeering count from 20 years to life imprisonment While the Court
will not prejudge the sentence to be imposed on Heyward, it is likely that the sentence that the
Court will ultimately determine to be reasonable under 18 U.S.C. § 3553(a) can be effectuated

without any need to utilize the enhanced statutory maximum on the racketeering count that the

14

Case 1:15-cr-OO445-PAE Document 844 Filed 11/21/17 Page 15 of 15

finding of the murder object provides In this respect, too, there is no injustice, let alone a
manifest injustice, to Heyward by allowing the murder-obj ect finding to stand. The Court invites
counsel, in their sentencing submissions, to comment further on this matter.
CONCLUSION
For the foregoing reasons, the Court denies defendant Heyward’s motion for a judgment
of acquittal and for a new trial. The Court will contact counsel shortly to confirm or set a new

sentencing date.

The Clerk of Court is respectfully directed to terminate the motion pending at Dkt. 746.

SO ORDERED. ’DM /<l GW/%W

Paul A. Engelmayer g
United States District Judge

 

Dated: November 21, 2017
New York, New York

15

